      Case 1:24-cv-00008-DAE     Document 83     Filed 04/03/25   Page 1 of 2




                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF TEXAS
                           AUSTIN DIVISION

UNITED STATES OF                     § No. 1:24-cv-00008-DAE
AMERICA,                             §
                                     §
                          Plaintiff, §
                                     §
v.                                   §
                                     §
STATE OF TEXAS; GREG                 §
ABBOTT, in his official capacity §
as Governor of Texas; TEXAS          §
DEPARTMENT OF PUBLIC                 §
SAFETY; and STEVEN C.                §
MCCRAW, in his official              §
capacity as Director of Texas        §
Department of Public Safety,         §
                                     §
                      Defendants. §


                           CASE CLOSING ORDER
            On March 18, 2025, Plaintiff the United States filed its Notice of

Voluntary Dismissal pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i),

dismissing without prejudice the above-captioned action. (Dkt. # 79.)




                                        1
Case 1:24-cv-00008-DAE   Document 83     Filed 04/03/25        Page 2 of 2




     The Clerk is therefore INSTRUCTED TO CLOSE THE CASE.

     IT IS SO ORDERED.

     DATED: Austin, Texas, April 3, 2025.




                         ______________________________________
                         David Alan Ezra
                         Senior United States District Judge




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